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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS


 JEFFREY JOHNSON,

 Plaintiff,
                                                       Case No. 3:16-cv-00657-NJR-DGW
 v.
                                                     Honorable Judge Nancy J. Rosenstengel
 SENECA MORTGAGE SERVICING, LLC,

 Defendant.


                                    NOTICE OF SETTLEMENT

         PLEASE TAKE NOTICE that Plaintiff Jeffrey Johnson (“Plaintiff”), hereby notifies the

 Court that Plaintiff and Defendant Seneca Mortgage Servicing, LLC, settled all claims between

 them in this matter and are in the process of completing the final closing documents and filing

 the dismissal. The parties request that the Court retain jurisdiction for any matters related to

 completing and/or enforcing the settlement.

 Respectfully submitted this 23rd day of September, 2016.



                                                            Respectfully Submitted,


                                                            /s/ James J. Haller
                                                            James J. Haller
                                                            Attorney for Plaintiff
                                                            Sulaiman Law Group, LTD
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                                   CERTIFICATE OF SERVICE

           I hereby certify that I today caused a copy of the foregoing document to be electronically

 filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

 record.

                                                                /s/ James J. Haller
                                                                James J. Haller
                                                                Attorney for Plaintiff
                                                                Sulaiman Law Group, LTD
                                                                900 Jorie Blvd, Ste 150
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